Case 20-10343-LSS Doc11729_ Filed-01/18/24—Page1-of 20-_____

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Baokcuptey court Judge
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“tear N.Moarkeft St. RUB
ee DE 19800.

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RE: As. Stated in Caption. (This. Motion is Based

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Case 20-10343-LSS Doc11729 Filed 01/18/24 Page 2 of 20 a

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_ Filelrdetivered for mailing,’ his Prooe ae Claim
_ to prisen Guthorities at Pelican Bay State Pris-_
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Case 20-10343-LSS Docii/29 Filed O1/18/24 Page 3 of 20

Scouting Settlement Trust
P.O. Box 50157
McLean, VA 22102
Scoutingsettlementtrust.com

Thank you for contacting the Scouting Settlement Trust. During review of your claim, we have a
requirement that for claims to be “allowable” the Claimant must have filed a timely Proof of Claim with
Omni Data Solutions. It was noted that the Trust obtained data that you did not timely file your
bankruptcy Proof of Claim form. This form should have been filed / received on or before the
bankruptcy bar date of November 16, 2020.

If you believe your Proof of Claim form was timely filed with the bankruptcy court, we need you to
provide us with proof of that| Acceptable forms of evidence include, but are not limited to email
verification, receipt, or another form of confirmation with a date or timestamp from a company called
Omni Agent Solutions, that your Proof of Claim form was filed timely and received before the deadline.

if you cannot provide evidence that your bankruptcy Proof of Claim was timely filed, and you do not
obtain an order from the bankruptcy judge allowing for submission of your Trust claim, the Trust is
unable to proceed and process your claim submission and it will be Disallowed. 7

/

Regards,
Scouting Settlement Trust we

info@ scoutingsettlementtrust.com 1-833-961-6495
Case 20-10343-LSS Doc11729 Filed 01/18/24 Page 4 of 20

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WMetean, VA 22107

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- Case 20-103843-LSS Doc 11729 Filed 01/18/24 Page 7 of 20.

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE 3 &
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c

In re: Chapter 11 eS

BOY SCOUTS OF AMERICA AND Case No. 20-10343 (LSS)

DELAWARE BSA, LLC;!

(Jointly Administered)
Debtors.

SEXUAL ABUSE SURVIVOR PROOF OF CLAIM

This Sexual Abuse Survivor Proof of Claim must be submitted and received by 5:00 p.m. (Eastern Time) on November 16,
2020. Please carefully read the following instructions included with this SEXUAL ABUSE SURVIVOR PROOF OF CLAIM and
complete ALL applicable questions to the extent of your knowledge or recollection. If you do not know the answer to an open-ended
question, you can write “T don’t recall” or “I don’t know.” Ifa question does not apply, please write “N/A.” If you are completing this
form in hard copy, please write or type clearly using blue or black ink.

The Sexual Abuse Survivor Proof of Claim must be delivered to Omni Agent Solutions, the Court-approved claims and noticing
agent (the “Claims Agent”), by either:

(i) Hand delivery, first class mail, or courier the original proof of claim to: BSA Abuse Claims Processing, c/o Omni
Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367, so that it is received on or before
November 16, 2020 at 5:00 p.m. (Eastern Time);’ or

(ii) Electronically using the interface available at: www.OfficialBSAClaims.com on or before November 16, 2020 at
5:00 p.m. (Eastern Time).

Sexual Abuse Survivor Proofs of Claim sent by email or facsimile transmission will not be accepted.

“You” and/or “Sexual Abuse Survivor” refers to the person asserting a Sexual Abuse Claim against the Boy Scouts of America
(“BSA”) related to the Sexual Abuse Survivor's sexual abuse. For this claim to be valid, the Sexual Abuse Survivor must sign this form.
If the Sexual Abuse Survivor is deceased or incapacitated, the form must be signed by the Sexual Abuse Survivor's representative or
the attorney for the Sexual Abuse Survivor's estate. If the Sexual Abuse Survivor is a minor, the form must be signed by the survivor's
parent or legal guardian or attorney. Any Sexua! Abuse Survivor Proof of Claim signed by a representative or legal guardian must attach
documentation establishing such person’s authority to sign the claim for the Sexual Abuse Survivor.

Who Js a Sexual Abuse Survivor?- .

For purposes of this Sexual Abuse Survivor Proof of Claim, the term Sexual Abuse Survivor refers to a person who was
sexually abused before turning eighteen (18) years of age.

Who Should File a Sexual Abuse Survivor Proof of Claim? ‘|

This Sexual Abuse Survivor Proof of Claim is only for people who were sexually abused before turning eighteen (18) years of
age and where the sexual abuse (defined below’) occurred on or before February 18, 2020. This Sexual Abuse Survivor Proof of Claim

' The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are as
follows:{ Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing acdress is 1325 West Walnut Hill
Lane, Irving, Texas 75038. 7

” Xf you are mailing your Sexual Abuse Survivor Proof e+ Claim, do not attach original documents with your Sexual Abuse Survivor
Proof of Claim.

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is the way you assert an unsecured claim against BSA seeking damages based on Scouting-related sexual abuse. Any person asserting
a claim based on anything other than childhood sexual abuse should use the General Proof of Claim form (official bankruptcy form
410).

| , : What Is Sexual Abuse?

For the purposes of this Sexual Abuse Survivor Proof of Claim, sexual abuse means, with respect to a child under the age of
eighteen (18) at the time of the sexual abuse, sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, sexual
touching, sexualized interaction, sexual comments about a person’s body, or other verbal or non-verbal behaviors that facilitated,
contributed to, or led up to abuse, regardless of whether or not such behavior was itself sexual or against the law, and regardless of
whether the child thought the behavior was sexual abuse at the time. Sexual abuse includes behavior between a child and an adult and
between a child and another child, in each instance without regard to whether such activity involved explicit force, whether such activity
involved genital or other physical contact, and whether the child associated the abuse with any physical, psychological, or emotional
harm. It involves behaviors including penetration or fondling of the child’s body, other body-on-body contact, or non-contact, behaviors
such as observing or making images of a child’s naked body, showing or making pornography, or having children behave in sexual
behavior as a group.

If you have a claim arising from sexual abuse and you were at least eighteen (18) years of age at the time the sexual abuse
began or if you have a claim arising from other types of abuse, including non-sexual physical abuse, non-sexual emotional abuse,
bullying or hazing, you should consult the Notice of Deadlines Requiring Filing of Proof of Claim and file a General Proof of Claim
(Official Bankruptcy Form 410).

For the avoidance of doubt, if you have a claim for sexual abuse and you were a child under the age of eighteen (18) when the
sexual abuse began you must complete this form.

[ You May Wish to Consult an Attorney Regarding This Matter. . |

You may also obtain information from the Claims Agent by: (1) calling toll free at 866-907-2721, (2) emailing at
BSAInquiries@omniagnt.com, or (3) visiting the case website at www.OfficialBSAClaims.com (do not contact the Claims Agent for
legal advice).

[ What If I Don’t File on Time? |

Failure to complete and return this Sexual Abuse Survivor Proof of Claim by November 16, 2020 at 5:00 p.m. (Eastern
Time) may result in your inability to vote on a plan of reorganization and/or to receive a distribution from this bankruptcy for
sexual abuse related to BSA.

| Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152,
157 and 3571.

[ PART 1: CONFIDENTIALITY ,

Unless you indicate below, your identity and your Sexual Abuse Survivor Proof of Claim will be kept confidential, under seal,
and outside the public record. However, information in this Sexual Abuse Survivor Proof of Claim will be confidentially provided,
pursuant to Court-approved guidelines, to the Debtors, the Debtors’ counsel and retained advisors, certain insurers of BSA, the Tort
Claimants’ Committee, counsel to the Ad Hoc Committee of Local Councils (with personally identifiable information redacted),
individual Local Councils solely with respect to Sexual Abuse Claims asserted against them, attorneys at the Office of the United States
Trustee for the District of Delaware, the Future Claimants’ Representative, the Court, and confidentially to such other persons that the
Court determines need the information in order to evaluate the claim, Information in this Sexual Abuse Survivor Proof of Claim may be
required to be disclosed to governmental authorities under mandatory reporting laws in many jurisdictions.

This Sexual Abuse Survivor Proof of Claim (along with any accompanying exhibits and attachments) will be maintained
as confidential unless you expressly request that it be publicly available by checking the “public” box and signing below.

OJ * UBLIC: I want my identity and this Sexual Abuse Survivor Proof of Claim (together with any exhibits aad attachments)
to be made part of the official claims register iu these cases. My claim will be available for review by any and all members
of the public. |

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Signature:

Print Name:

[ __PART 2: IDENTIFYING INFORMATION oe

A. Identity of Sexual] Abuse Survivor

Fo \en Middle ital II Noe so

Mailing Address (If Sexual Abuse Survivor is incapacitated, is a minor, or is deceased, provide the address of the individual submitting
the claim. If you are in jail or prison, provide the address of your place of incarceration):

Number and Street:

For communications regarding this claim you may use (check the appropriate boxes):

Email] USMail[4’ —_ Home Voicemail 1 Cell Voicemail [] Counsel listed below []

Social Security Number of Sexual Abuse Survivor (last four digits only): XXX-XX-8 @ 4 2

If the Sexual Abuse Survivor is in jail or prison, provide the Sexual Abuse Survivor’s identification number: ce
Birthdate of Sexual Abuse Survivor (only the month and year): (MM/YYYY): 069 / 49 6 3.

Any other name, or names, by which the Sexual Abuse Survivor has ever been known: \\/ AA

Gender of Sexual Abuse Survivor: Male [4 Female (1 Other (specify) __

B. Ifyou have hired an attorney relating to the sexual abuse described in this Sexual Abuse Survivor Proof of Claim,
please provide his or her name and contact information:

Law Firm Name: N/A

Attorney’s Name:

Internal Claim or
Claimant Identifier (if |
applicable):

Number and Street:

. To Skee sae ~
City: [ State: | Zip Code:
Country (not USA): Email Address:
Telephone ( Work): Fax No.

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Case 20-10343-LSS Doc11729 Filed 01/18/24 Page10of20 Zz

A.

PART 3: BACKGROUND INFORMATION FOR SEXUAL ABUSE SURVIVOR |

Marital/Domestic Partner History:

a.

b.

Cc.

a.

a.

Have you ever been married? YesC] No
If yes, please provide:

i. Length of time you were/have been married:

ii. Current marital status:

If your marriage has ended, please specify whether your marriage ended by: divorce [] or death of your spouse [_]

' Education History:

What is your highest level of education completed or degree obtained?

High School [4 Associates[_] Bachelors [_JMasters[[] Doctoral ] Other

b. Educational institution(s): AA Qe Y 6. Pe reu H i gh Schoal

Employment:

What is your current employment status:

[y Employed — Occupation: Rarber,

T) Retired — Former Occupation:

(-] Unemployed — Former Occupation:

[-] Disabled — Former Occupation:

[_] Other: |

Military service:
a. Have you ever served in the military? Yes(_] No [
b. Ifyes, please provide the following information:
c. Branch(es) of service:
d. Years of service in each:
e. Rank at discharge for each:
f. Nature of discharge for each (e.g., honorable):

Involvemer:* with Scouting:

a.

Have you ever been affiliated with Scouting and/or a Scouting program?

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a

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Yes = NoL] 3
b. When were you involved with Scouting? From 1974-1475, Qoproximate -
Eu.
T

c. What type of Scouting unit (i.., troop) were you involved with, and, if you recall, when you were involved and what
was your trodp or unit number?

[W’ Boy Scouts , Iraeg 134 'Feo -78="3s.

so [_] Cub Scouts

[] Exploring Scouts

L] Sea Scouts

2
L) Venturing

A Other (please explain your involvement with Scouting):
‘p y

ing, Qng@ ushered OF the Lang Beach Grand Prix.

‘PART.4: NATURE OF THE SEXUAL ABUSE

(Attach additional sheets if necessary)
For each of the questions listed below, please complete your answers to the best of your recollection,

Note: If you have previously filed a lawsuit about your Scouting-related sexual abuse in state or federal court, you may attach
a copy of the complaint. If you have not filed a lawsuit, or ifthe complaint does not contain all of the information requested below, you
must provide the information below to the extent of your recollection.

Please answer each of the following questions to your best ability. If you do not know or recall, please so indicate.

If you are the survivor of sexual abuse by more than one sexual abuser, please respond to each of the questions in this Part 4
for each sexual abuser.

A. Please answer “Yes” or “No” to each of the following:
i. Were you sexually abused by more than one person? Yes (_] No wy
ii. Were you sexually abused in more than one state? Yes [ } No iy

B. Please name each person who sexually abused you in relation to your involvement in Scouting. (“Scouting” includes Cub
Scouts, Buy Scouts, Exploring Scouts, Sea Scouts and Venturing.)

If you do not remember the name of the sexual abuser(s), provide as muci identifying information about the sexual abuser(s)
that.you can recall, such as their approximate age and their relationship to Scouting (e.g., the Scoutmaster of Troop 100,
another Troop member of Troop 200, camp staff member, etc.).

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My Scourmoster thea) $5-42 years of age.

C. Other than the sexual abuser(s), please identify any person(s) you can remember who were leaders or other adults involved
in your Scouting unit or the camp(s) you attended.

—I_Gniy remember my Scoutmaster € Other Scoutmasters (unigen-

tified) Whe Co-atended Bou Scout Functions. ee j

D. — What was each sexual abuser’s position, title, or relationship to you in Scouting (check all that apply)?

[Y Adult Scout leader in my Scouting unit

(4 Adult Scout leader not in my Scouting unit

[J Youth Scout in my Scouting unit

[-] Youth Scout not in my Scouting unit

[_] Camp personnel (e.g., camp staff) not in my Scouting unit

(1) I don’t know

(-) Other (please explain why you believe the person(s) who sexually abused you had a relationship with Scouting):

He wos igentified as heing the Scoutmaster of Troup 144.

E. Where were you at the time you were sexually abused (city, state, territory and/or country)?

Long Bea ae AtOiNS.
FE. What was the type of Scouting you were involved with during the sexual abuse (check all that apply)?
{7 Boy Scouts
[_] Cub Scouts
L) Exploring Scouts
(-] Venturing
[_] Sea Scouts
(1) Other (please explain why you believe you had a connection to Scourng during the sexual abuse):

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G, What was the Scouting unit number and physical location (city, state, territory and/or country) of the Scouting vuit(s) or
provisional troop you were in during the time of the sexual abuse?

Troop 144; Long Beach, CA; America.

H. What was the name and location (city, state, territory and/or country) of the organization that chartered or sponsored your
Scouting unit, including the organization that hosted meetings of your Scouting unit, during the time of the sexual abuse
(e.g., church, school, religious institution, or civic group)?

(Note that such organizations are not currently parties to the bankruptcy so if you believe you may have a claim against any
such organization you must take «dditional action to preserve and pursue any such claim.)

fUnidentitied] church in Long B each, CA Sitwated Gcross the Street
from Lincoin Fiementacy Schogt
rE What was the name of the BSA Local Council(s) affiliated with your Scouting unit(s), any Boy Scout camp or other Scouting
activity during the time of the sexual abuse?

(Note that such BSA Local Councils are not currently parties to the bankruptcy so if you believe you may have a claim against
any such BSA Local Council(s) you must take additional action to preserve and pursue any such claim.)

UnkoGwn

I In which of the following places did the sexual abuse take place? Check all that apply.
(1 Ator in connection with a Scout meeting.
[4 Ator in connection with a Scout camp.

[4 Ator in connection with another Scouting-related event or activity (please explain):

icaufjamberee; Long Beach Grand Prix.

[1 Other (please explain — for example, schools, churches, cars, homes or other locations):

Under bieachers, in the woods.

K. — When did the first act of sexual abuse take place? If you do not remember the calendar date, what schoo! grade were you in
at the time and what season of the year was it (spring, summer, fall, winter), and what age were you when it started? If the
sexual abuse took place ove: a period of time, please state when it started and when it stopped. If you were sexually abused
by more than one sexual abuser indicate when the sexual abuse by each of the sexual abusers started and stopped,

Rowghiy, if started 2 months Geter T became @ Scout, ending on
My resigadtjon from the Scouts. .

L. Please describe what happened tc , ou. You can provide a description in your own +/ords and/or use the checkboxes below,

i. About how many times were you sexually abused?

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Case 20-10343-LSS Doc 11729 Filed 01/18/24 Page 14 of 20 IO
(-] Iwas sexually abused once.
[4 I was sexually abused more than once.

If you were sexually abused more than once, please state how many ames (if you recall): fpr Grimatel uy 4-

5 trmes.

M. Please describe what happened to you. You can provide a description in your own words and/or use the checkboxes below.
(Check all that apply.) Please note that the boxes are not meant to limit the characterization or description of your
sexual abuse.

i. What did the sexual abuse involve?
[4 The sexual abuse involved touching outside of my clothing.
ff The sexual abuse involved touching my bare skin.
[A The sexual abuse involved fondling or groping.
{\4 The sexual abuse involved masturbation.
(_]_ The sexual abuse involved ora! copulation / oral sex.
[_] The sexual abuse involved the penetration of some part of my body.
ii, Did any of the following occur in connection with the sexual abuse:
The acts of sexual abuse against me also involved other youth.

The sexual abuse involved photographs or video.

Even though I did not want it, my body responded sexually to the sexual abuse.

El Elo

The sexual abuse involved actual or implied threats of violence or other adverse consequences if ] disclosed
the sexual abuse.

] The sexual abuse involved gifts, privileges, experiences, and other rewards or bribes in addition to the
activities and awards normally part of Scouting.

Ty The sexual abuser(s) made my family think they could be trusted.
[7 At the time of the sexual abuse, my family or I had significant financial, social, behavioral or other challenges.

If you wish to provide a narrative, please describe the sexual abuse in as much detail as you can recall in the lines below.
You may attach additional pages if needed.

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nat threareningsiftimidating Me, but Felling Me tha¥ there was

He thiag Ww FON9 With What he was doing,

Page 8 of 12
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Did you or anyone on your behalf tell anyone involved in Scouting about the sexual abuse at or gbout the time of the sexual
abuse? Yes{_] No

Did you or anyone on your behalf report the sexual abuse to law enforcement or investigators at or about the time of the
sexual abuse? Yes [_] No :

If you can remember anyone you may have ever told about the sexual abuse at the time, including anyone involved with
Scouting, friends, relatives, anc/or law enforcement, please list their name and when you told them.

; I was oshamed, embarrassed, ang psycharogicdliy trauma-

#G ME.

Q. Did you have any relationship with your sexual abuser outside of Scouting? Check all that apply:

Cj Religious organization leader, member, volunteer
[_] Family member or relative

Cl Coach/athletics

CL Teacher

(] Neighbor

[) Other (please explain and add any other information you remember to the categories above):

R.

No

Are you aware of aryone who knew about the sexual abuse?

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PART 5: IMPACT OF SEXUAL ABUSE _

(Attach additional pages if necessary)

(If you currently cannot describe any harm you have suffered on account of the sexual abuse, you may omit this section
for now. However, you may be asked to provide the information requested at a later date.)

A. Please describe how you were impacted, harmed, damaged, or injured in ways that you now connect as being related to the
sexual abuse you described above. (Check all that apply.) You can provide a description in your own words and/or use the
checkboxes below. Please note that the boxes are not meant to limit the characterization or description of the impact(s)
of your sexual abuse.

[WJ Psychological / emotional health (including depression, anxiety, feeling numb, difficulty managing or feeling
emotions including anger)

[v Post traumatic stress reactions (including intrusive images, feelings from the abuse, numbing or avoidance
behaviors)

Mw Physical health (including chronic disease, chronic undiagnosed pain or physical problems)
(-] Education (including not graduating high school, being unable to finish training or education)

Ww Employment (including difficulties with supervisors, difficulty maintaining steady employment, being fired from
jobs)

[1 Intimate relationships (including difficulty maintaining emotional attachments, difficulty with sexual behavior,
infidelity)

[7 Social relationships (including distrust of others, isolating yourself, not being able to keep healthy relationships)
[ Alcohol and/or substance abuse (including other addictive behavior such as gambling)
[-] Other (please explain and add any other information you remember to the categories above)

If you wish to provide a narrative, please describe how you were impacted, harmed, damaged, or injured in ways that you

pow connect as being related to the sexual abuse you described above in as much detail as you can recall in the lines below.
You may attach additional pages if needed.

Tn Gddition to that Ved above, T went From being « Boy
Scout +O becoming O full-fledged Criminal.

B. Have you ever sought counseling or other mental health treatment for any reason?
Yes No (C]

If your response to the prior question is “Yes,” please identify the name of each person who provided you with counseling
or mental health treatment, their location, the type of counseling or treatment and the estimated dates/time period of
counseling or treatment. If you were prescribed medication in connection with such counseling or mental health treatment,
please list the name of the riedication and how long you took that medication.

WEN 2 soc stote Prisoo/anti-depressive caunseting/20tes
Cindy Fox/Petican Boy SP/Anti-Aanuiety counseting/201g

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PART 6: ADDITIONAL INFORMATION “

i. Was a lawsuit regarding the sexual abuse you have described in this Sexual Abuse Survivor Proof of Claim filed by
you or on your behalf.
Yes] No (If “Yes,” you are required to attach a copy of the complaint.)

Prior Bankruptcy Claims, Have you filed any claims in any other bankruptcy case relating to the sexual abuse you have
described in this Sexual Abuse Survivor Proof of Claim? Yes] No iM dr “Yes,” you are required to attach a copy of
any completed claim form.)

Payments. Have you received any payments related to the sexual abuse you have described in this Sexual Abuse Survivor
Proof of Claim from any party, including BSA? Yes L] Nol’

i. If yes, how much and from whom?

Current Bankruptcy Case. Are you currently a debtor in a bankruptcy case? Yes [] No[f

i. If yes, please provide the following information:
Name of Case: Court:
Date filed: Case No.

Chapter:7L] 1100 1200 13L) Name of Trustee:

[Signature page follows — you must complete and sign the next page]

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14

«SIGNATURE __ |

To be valid, this Sexual Abuse Survivor Proof of Claim must be signed by you. If the Sexual Abuse Survivor is deceased
or incapacitated, the form must be signed by the Sexual Abuse Survivor's representative or the attorney for the Sexual Abuse Survivor’s
estate. If the Sexual Abuse Survivor is a minor, the form must be signed by the Sexual Abuse Survivor’s parent or legal guardian, or
the Sexual Abuse Survivor's attorney. (Any form signed by a representative or legal guardian must attach documentation establishing
such person’s authority to sign this form for the Sexual Abuse Survivor.)

152, 157 and 3571.

Penalty for presenting a fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§

Check the appropriate box:
wy lam the Sexual Abuse Survivor.

DO I am the Sexual Abuse Survivor's attorney, guardian, kinship (or other authorized) caretaker, executor, or authorized
representative,

UJ Other (describe);

I have examined the information in this Sexual Abuse Survivor Proof of Claim and have a reasonable belief that the
information is true and correct.

I declare under penalty of perjury that the foregoing statements are true and correct.
Date:

Signature:

Print Name:

Relationship to Sexual Abuse Survivor (if not signed by Sexual Abuse Survivor):

Address:

Contact Phone:

Email: NGA

Page 12 of 12
Case 20-10343-LSS Doc 11729 Filed 01/18/24 Page 19 of 20 .

PROOF OF SERVICE BY MAIL

BY PERSON IN STATE CUSTODY
“SS (Fed. R. CIV. P. 5:528 U.S.C. 1746)

™

I, TL. HOwWwzwe , declare: I am over eighteen (18) years of age and am
a patty to this action. ] am a resident of Pelican Bay State Prison, in the County of Del Norte, ;
State of California. My State Prison address is: Pelican Bay State Prison, PO Box 7500,

Housing Unit_ 5 Cell Number 204 {Crescent City, CA 95532-7500.
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Onthe_1S+h 3 dayofi{ O¢ + _, | served the following document(s):

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On the parties herein by placini true and correct copies thereof, enclosed in a sealed
envelope, with postage thereon fully paid, in the United States mail in a receptacle so
ees my ? provided at’ Pelican Bay State Priséq, Crescent City, CA 95532, and addressed as follows:

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I declare under penalty of perjury that the foregoing is true and correct.

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Inmate Signa

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W.S.B ankruptcy Court

Case 20-10343-LSS Doc 117

District of Deleware

824 N. Market Street
Wilmington, PE 19801
Nttn: Chambers or the Honorable Laurie
Sicieo ebeistacetit G3 ree Men GS: OK PALO Ue OS rr

